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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

v.                                                      Criminal No. RDB-19-020

PAUL ALEXANDER

      Defendant
______________________________/


             DEFENDANT’S MOTION TO SUPPRESS SEARCH WARRANTS


      THE SEARCH AND SEIZURE WARRANT FOR THE RESIDENCES
      LOCATED AT 7789 ARUNDEL MILLS BLVD, APT. 47; 7787 ARUNDEL
      MILLS BLVD, APT. 405; 12401 BRICKYARD BLVD; A 2017 BMW, VIN
      #WBA7E2C59HG740035; CELLULAR DEVICE ASSIGNED CALL NUMBER
      (213) 321-6027; A 2018 MERCEDES BENZ E-400, MARYLAND TAG
      #2DG5455; CELLULAR DEVICE ASSIGNED CALL NUMBER (410) 972-5367;
      2008 HONDA ACCORD, VIN#1HGCS22818A005690; 2017 TOYOTA
      CAMRY, VIN#4T1BK1EB9HU246533; 2017 CADILLAC ESCALADE,
      VIN#1GYS4BKJXHR173976;         2017     RANGE         ROVER,
      VIN#SALWR2FE7HA146120; 2018 VOLVO, VIN#YV440MUMOJ2006048;
      WAS NOT SUPPORTED BY PROBABLE CAUSE AND THE ISSUING
      MAGISTRATE DID NOT HAVE A SUBSTANTIAL BASIS TO ISSUE SAID
      WARRANT IN VIOLATION OF THE FOURTH AMENDMENT TO THE
      UNITED STATES CONSTITUTION AND ALL EVIDENCE AND
      DERIVATIVE EVIDENCE SEIZED FROM THESE LOCATIONS, VEHICLES,
      AND CELL PHONE NUMBERS MUST BE SUPPRESSED AS THE FRUITS
      OF AN ILLEGAL SEARCH AND SEIZURE.


      The Fourth Amendment to the United States Constitution provides:
      The right of the people to be secure in their persons, houses, papers, and effects, against
      unreasonable searches and seizures, shall not be violated, and no Warrants shall issue, but
      upon probable cause, supported by Oath or affirmation, and particularly describing the place
      to be searched, and the persons or things to be seized.

 U.S. Const. Amend. IV.
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         A search warrant requires probable cause to believe that particularly identified fruits,

evidence, and/or instrumentalities of a crime will be found in a particularly described place. United

States v. Harris, 403 U.S. 573, 584 (1971). In order for evidence that was obtained by a search warrant

issued by a magistrate to be suppressed, there must be proof that there was not a substantial basis

for the magistrate to conclude that, based on the four corners of the warrant and affidavit, probable

cause existed to issue the warrant. See Malley v. Briggs, 475 U.S. 335, 345 (1986).

         In this case, a search was conducted pursuant to a search and seizure warrant for 7789

Arundel Mills Blvd, apt. 47; 7787 Arundel Mills Blvd, apt. 405; 12401 Brickyard Blvd; a 2017 BMW,

Vin #WBA7e2c59hg740035; Cellular Device assigned call number (213) 321-6027; a 2018

Mercedes Benz e-400, Maryland Tag #2DG5455; Cellular Device assigned call number (410) 972-

5367;     2008     Honda        Accord,   Vin#1HGCS22818A005690;           2017     Toyota     Camry,

Vin#4T1BK1EB9HU246533; 2017 Cadillac Escalade, Vin#1GYS4BKJXHR173976; 2017 Range

Rover,    Vin#SALWR2FE7HA146120; and a 2018                   Volvo, Vin#YV440MUMOJ2006048

(collectively, seized items).

         The warrant was based on an insufficient affidavit which was based solely on information by

a confidential source. The fruits of the search include evidence which the Government may seek to

use against the Defendant at trial. This evidence must be suppressed because the issuing magistrate

did not have a substantial basis to conclude that probable cause existed to search the specified

location(s), vehicles and cell phones, and the federal authorities could not have – in good faith –

relied on the search warrant.




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           THE AFFIDAVIT AND WARRANT IN DEFENDANT ALEXANDER’S CASE1

           The affidavit in support of probable cause to support the issuance of search warrants for the

addresses, vehicles, and cell phone numbers listed above, were based primarily on a confidential

source (CS). The affidavit reads that in January of 2018, the Baltimore City Police Department

arrested a CS for possession of a loaded firearm and suspected narcotics. Following that arrest, the

CS began cooperating with law enforcement officials in the hopes of receiving leniency for the

pending charges.

           In February of 2018, the CS met with affiant and other federal investigators. During the

meeting, the CS was shown a photograph of Omar Alexander and identified him as “Oatmeal.” The

CS also stated that he/she has known Oatmeal and his brother, Paul, for many years. The CS stated

that he/she had engaged in daily narcotics distribution with Omar, and had done so as recently as

January of 2018. The CS stated that he/she knows that Paul Alexander supplies heroin to a large

portion of South Baltimore. The CS stated that he/she knows that Omar serves as a middleman for

his brother Paul, and other members of the drug trafficking organization. The CS was shown a

photograph of Paul Alexander, and identified him as Paul.

                                                     ARGUMENT

           The Fourth Amendment provides, “The right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures, shall not be violated, and no

Warrants shall issue, but upon probable cause, supported by Oath or affirmation, and particularly

describing the place to be searched, and the persons or things to be seized.” U.S. CONST. amend.

IV. Article 26 of the Maryland Declaration of Rights affords the same protection as the Fourth



1
    A copy of the affidavit for search and seizure in this case is attached as Exhibit One


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Amendment, that no search warrants will be issued without probable cause. State v. Coley, 145 Md.

App. 502, 520 (2002).


       Probable cause has been defined by [the Court of Appeals] as a fair probability that
       contraband or evidence of a crime will be found in a particular place. Probable cause
       is a nontechnical conception of a reasonable ground for belief that the items sought
       will be found in the premises searched. Probable cause involves practical
       considerations of everyday life on which reasonable and prudent men, not legal
       technicians act.

Agurs v. State, 415 Md. 62, 75-76 (2010)

       A. There was no substantial basis for the issuing a warrant.

       In order for evidence that was obtained by a search warrant issued by a magistrate to be

suppressed, there must be proof that there was not a substantial basis for the magistrate to conclude

that probable cause existed. See United States v. Wienke, 733 Fed. Appx. 65, 71 (4th Cir. 2018). A

magistrate, in finding probable cause, must make a decision given the totality of the circumstances

set forth in the affidavit, that contraband or evidence of a crime will be found in a particular place.

Id.

       The affidavit in this case fails to establish the veracity of and/or the basis of knowledge the

confidential source identified in the affidavit, failed to properly corroborate the information

provided by the source and provided no nexus of the alleged criminal activity and the addresses,

vehicles, and cell phone numbers sought to be searched. Additionally, the information provided

regarding the search of the seized items was obtained as a result of an illegal search, and thus cannot

be used in considering the basis for finding probable cause. Therefore, there were not sufficient facts

for the issuing magistrate to have a substantial basis for concluding that there was probable cause.




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       1. There is no nexus between the alleged criminal activity and the addresses, vehicles,
          and cell phone numbers that were searched.

       The warrant failed to provide a nexus between any alleged criminal activity and the

apartments, vehicles, and subject cell phone numbers. See United States v. Schultz, 14 F.3d 1093 (6th

Cir. 1994):

       “While an officer’s ‘training and experience’ may be considered in determining probable
       cause, it cannot substitute for the lack of evidentiary nexus in this case, prior to the search,
       between the safe deposit boxes and any criminal activity.”

Id. at 1097. In Defendant’s case, there was no nexus whatsoever between the alleged criminal activity

and the apartments, vehicles, and cell phone numbers, because there was no criminal activity ever

observed by the CS at any of the locations, with any of the vehicles, nor with the subject cell phone

numbers. The allegations in the affidavit are mere speculation based upon an uncorroborated and

unreliable CS, and thus do not provide a substantial basis that an issuing magistrate could have

found probable cause to issue a warrant. Therefore, the issuing judge did not have a substantial basis

for issuing a search warrant in Mr. Alexander’s case.


       2. There is no Information Presented in Defendant Alexander’s Case that establishes the
       veracity and reliability of the confidential course and the agents did not corroborate the
       information that was provided to them.

       Information in an affidavit that comes from an unidentified informant must be evaluated

on its trustworthiness under a totality of circumstances approach considering the reliability, veracity

and basic knowledge of the informant. See Massachusetts v. Upton, 466 U.S. 727, 730 (1984). Veracity

concerns the informant’s truthfulness, reliability “entail[s] inquiry into whether the informant has

provided accurate information in the past,” and, for basis of knowledge, “firsthand observation is

entitled to greater weight than secondhand information.” United States v. Quezada-Enriquez, 567 F.3d




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1228, 1233 (10th Cir. 2009). When an informant is facing criminal charges, as here, three may be

cause that he or she is not telling the truth. Id.

        The facts here are similar to those in United States v. Danhauer, 229 F.3d 1002 (10th Cir.

2001). There, a policer officer received information from another officer about a confidential

informant’s report that Robbi and Dennis Danhauer were cooking meth in a garage on their

property. The investigating officer independently corroborated that the Danhausers lived at the

property identified by the informant, and observed Robbi going back and forth between the home

and garage. He also learned that both men had criminal records involving drugs and outstanding

warrants. Based on this information, the investigating officer prepared an affidavit.

        The Court held that the affidavit was insufficient to establish probable cause because the

“affiant neither established the veracity of the informant, nor obtained sufficient independent

corroboration of the informant’s information.” Id. at 1006. Cf. McCray v. Illinois, 386 U.S. 300, 302-

04 (1967) (probable cause sufficient where first-hand knowledge was presented by informant who

previously supplied police with accurate information); Illinois v. Gates, 462 U.S. 213, 233 (1983) (A

key consideration is whether the information has provided reliable information in the past about

the same type of criminal activity).

        Mr. Alexander’s case is a clear example of federal authorities basing its support for probable

cause on the word of an untested and unreliable informant who sought to seek leniency for other

criminal conduct. The affidavit failed to prove the veracity or basis of knowledge of the confidential

source, and provided absolutely no corroboration of the information given and thus the totality of

the circumstances shows that the information obtained by the source is not reliable and an issuing

magistrate could not have had a substantial basis to find probable cause when issuing the warrant.




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 3. Any Reliance by the Government on the Leon Good Faith Exception Would be Misplaced

        Once a court has determined that the warrant-issuing judge did not have a substantial basis

for concluding there was probable cause, the next step in suppressing evidence obtained in that

warrant is whether the good faith exception to the exclusionary rule applies. In United States v. Leon,

the Supreme Court set forth a test for determining whether the good faith exception should be

applied, outlining four situations in which an officer’s reliance on a search warrant would not be

reasonable and the good faith exception would not apply. 468 U.S. 897 (1984).

        The four factors, two of which are relevant in this case, are when the magistrate “in issuing

a warrant, was misled by information in an affidavit that the affiant knew was false or would have

known was false except for a reckless disregard of the truth;” “in cases where the issuing magistrate

wholly abandoned his judicial role so that no reasonably well trained officer should rely on the

warrant;” in cases “in which an officer would not manifest objective good faith in relying on a

warrant based on an affidavit so lacking in indicia of probable cause as to render official belief in its

existence entirely unreasonable;” or in cases where “a warrant may be so facially deficient, in failing

to particularize the place to be searched or the things to be seized-that the executing officers cannot

reasonably presume the warrant to be valid.” Id. at 923.

        In order for the good faith exception to apply, the Government bears the burden of proof

to show that none of these factors existed and the officers used objective good faith.

        The factors involved in this case are that the issuing magistrate wholly abandoned his/her

judicial role so that no reasonably trained officer should have relied on the warrant and that the

affidavit was so lacking in indicia of probable cause as to render belief in it entirely unreasonable.

In U.S. v Wilhelm, the Fourth Circuit held that the standard for the former is closely intertwined




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with the later. United States v. Wilhelm, 80 F.3d 116 (4th Cir. 1996). A “bare bones” affidavit is one

that contains wholly conclusory statements, which lack the facts and circumstances from which a

magistrate can independently determine probable cause. United States v. White, 874 F.3d 490, 496

(6th Cir. 2017).

        T

        The affiant did not observe a single illegal action or corroborate any of the information

provided by the confidential sources other than innocent public information. The affiant provides

no facts, circumstances, supporting data or corroboration whatsoever of the confidential source.

The affiant is made of wholly conclusory statements which do not satisfy the Fourth Amendment

and no reasonably well-trained police officer could have believed there was probable cause to search

the seized items and, as such, all evidence recovered during the search must be suppressed.



                                           CONCLUSION

        It is for the above-stated reasons that Defendant, Paul Alexander, moves this Honorable

Court, after an opportunity to be heard on the matter, to suppress any and all evidence and

derivative evidence that was obtained as a result of the search and seizures conducted at, and on, the

seized items, and for any further relief this Honorable Court deems appropriate.



                                                      Respectfully Submitted,

                                                      __________/s/____________
                                                      Russell A. Neverdon, Sr.
                                                      Fed. I.D. No. 25949
                                                      711 Saint Paul Street
                                                      Baltimore, MD 21202
                                                      (410) 235-2184 (Phone)



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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on this 25th day of June, 2019, a copy of the foregoing
Memorandum of Law in Support of Defendant’s Omnibus Motion to Suppress Evidence was
electronically filed to the Office of the United State’s Attorney for Maryland.



                                              Russell A. Neverdon, Sr.




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